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14   Meta Platforms, Inc.
15
                                 UNITED STATES DISTRICT COURT
16
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                         OAKLAND DIVISION
18
      WHATSAPP LLC, and                 )
19                                      )          Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
20                                      )          PLAINTIFFS’ ADMINISTRATIVE
                      Plaintiffs,       )          MOTION TO ENLARGE PLAINTIFFS’
21                                      )          TIME TO FILE DISCOVERY-
             v.                         )          RELATED MOTIONS UNDER CIVIL
22                                      )          LOCAL RULE 37-3
23    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )          Courtroom 3
                                        )          Before the Honorable Phyllis J. Hamilton
24                                      )
                      Defendants.       )
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 1          Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) respectfully move the Court,

 2   pursuant to Civil Local Rules 6-3 and 37-3, to enlarge Plaintiffs’ time to file any discovery-related

 3   motions under Civil Local Rule 37-3 in the above-captioned matter. Specifically, Plaintiffs request

 4   until October 2, 2024 to file discovery-related motions under Civil Local Rule 37-3, in order to ensure

 5   that Plaintiffs are able to conclude the meet-and-confer process, which may avoid certain discovery-

 6   related motions being filed with the Court.

 7          Under Civil Local Rule 37-3, the current deadline for fact-discovery-related motions is Sep-

 8   tember 20, 2024, because the fact discovery cut-off was September 13, 2024. However, pursuant to

 9   the Parties’ stipulation, which the Court so-ordered (Dkt. No. 380), five depositions were scheduled

10   after the close of fact discovery, with the last being scheduled for September 25, 2024. In addition,

11   Plaintiffs have not yet received a response from Defendants on each of Defendants’ discovery defi-

12   ciencies set forth in Plaintiffs’ deficiency letter (the “Deficiency Letter”), which Plaintiffs sent De-

13   fendants on September 12, 2024. For example, Defendants served a partial response to the Defi-

14   ciency Letter at 3:30 pm on September 20, 2024, which is the current deadline under Civil Local

15   Rule 37-3 for discovery-related motions. In that response, Defendants admit that they have not re-

16   sponded to all of the deficiencies identified in Plaintiffs’ Deficiency Letter, stating: “I am unable to

17   address your requests about depositions in this letter (Sections VI and VII of your letter).” Given the

18   timing of Defendants’ response, Plaintiffs have not had the opportunity to meet and confer with De-

19   fendants regarding the positions that Defendants set forth in their response.

20          Less than two hours after Plaintiffs’ received Defendants’ partial response to Plaintiffs’ De-

21   ficiency Letter on the same, Plaintiffs requested that Defendants stipulate to the relief sought in this

22   motion. Defendants did not respond.

23          Plaintiffs have good cause to seek this extension. As the Court knows, Defendants requested

24   a six-month extension of the fact discovery period in order to produce documents, and previously

25   resisted the imposition of a deadline for substantial completion of document production. Having

26   secured an extension, and avoided a substantial completion deadline, Defendants produced the vast

27   majority of their documents towards the end of the fact discovery period: As of August 1, 2024,

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     PLAINTIFFS’ ADMINISTRATIVE MOTION TO ENLARGE PLAINTIFFS’ TIME TO FILE DISCOVERY-RELATED MOTIONS
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 1   Defendants had produced just 17 of their own documents. In late August, Defendants produced

 2   approximately 4,500 additional documents. Between September 3, 2024 and September 13, 2024,

 3   Defendants produced another approximately 330 documents. After the close of fact discovery, on

 4   September 15, 2024, Defendants’ counsel also produced documents on behalf of Westbridge Tech-

 5   nologies, Inc., Defendants’ U.S. reseller. In light of these productions, as well as the compressed

 6   scheduled for depositions, expert discovery, and dispositive motions, Plaintiffs are continuing to

 7   evaluate Defendants’ compliance with their discovery obligations. Plaintiffs also need additional

 8   time to complete the meet-and-confer process with Defendants regarding the already identified defi-

 9   ciencies in Defendants’ production.

10           The short extension that Plaintiffs seek also will ensure compliance with Civil Local Rule 37-

11   1, which requires counsel to “confer[] for the purpose of attempting to resolve all disputed issues.”

12   Defendants’ delay in producing documents, and subsequent delay in responding to Plaintiffs on the

13   deficiencies in Defendants’ document production have made it impossible to satisfy both this Civil

14   Local Rule and the deadline for discovery-related motions.

15           During the February 15, 2024 conference, the Court indicated that it was willing to hear a

16   sanctions motion made by Plaintiffs if Defendants did not comply with their document production

17   obligations by the close of fact discovery. Feb. 15, 2024 Tr. at 70:20–23. Plaintiffs are actively

18   seeking to meet-and-confer with Defendants regarding Defendants’ discovery deficiencies in the

19   hopes of narrowing the issues for the Court to resolve. Thus, to the extent September 20, 2024 is the

20   deadline for a sanctions motion, Plaintiffs would suffer substantial harm in the absence of an exten-

21   sion.

22           Finally, this motion to enlarge Plaintiffs’ time to file discovery-related motions will not have

23   any impact on other deadlines in this case. Even if Plaintiffs’ discovery-related motions result in

24   Defendants producing additional documents, Plaintiffs intend to proceed with filing their motion for

25   summary judgment according to the Court’s schedule.

26           For the foregoing reasons, Plaintiffs request that the Court grant its motion to enlarge Plain-

27   tiffs’ time to file their discovery-related motions until October 2, 2024.

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     PLAINTIFFS’ ADMINISTRATIVE MOTION TO ENLARGE PLAINTIFFS’ TIME TO FILE DISCOVERY-RELATED MOTIONS
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 1    Dated: September 20, 2024                    Respectfully Submitted,

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